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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF ALASKA

JoHN DOE 1,
Plaintiff,
vs.

THE JESUITS OF THE NEW ORLEANS Case NO: 3:08-Cv-

 

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PROVINCE,
NOTICE OF REMOVAL FROM
Defendant. STATE COURT
TO: C1erk of Court

The United States District Court
For the District of Alaska

AND TO: David Henderson
Law Office of David Henderson
PO Box 2441
Bethel AK 99559
COMES NOW defendant, The Jesuits of the New Orleans

Province,1 and hereby gives notice that pursuant to 28 U.S.C. §

1332 and 28 U.S.C. § 1446(b), they have this day filed in the

 

1 The correct corporate name for defendant, The Jesuits of the

New Orleans Province, is The Catholic Society of Reliqious and
Literary Education.

Case 4:08-cV-00008-RRB Document 1 Filed 03/18/08 Page 1 of 5

 

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United States District Court for the District of Alaska this
Notice of Removal of the following action: John Doe 1 v.

Catholic Bishop of Northern Alaska, filed in the Superior Court

 

for the State of Alaska, Fourth Judicial District at Bethel.
Defendant has filed a copy of this Notice of Removal with the
Clerk of the Superior Court for the Fourth Judicial District at
Bethel, Case No. 4BE~07~0332 Civil; and that this action is
thereby removed from the Superior Court to the United States
District Court. §e§_ Exhibit. A hereto (“Notice of Removal to
United States District Court” without attachments).

The grounds for removal are as follows: Diversity of
citizenship pursuant to 28 U.S.C. §§ 1332 and 1446(b).
Plaintiff’s complaint alleges that The Jesuits of the New
Orleans Province are vicariously liable for acts of sexual abuse
committed by Father Thomas Hatrel, and that defendant
negligently retained, supervised and placed Father Hatrel,
causing plaintiff personal injury damages in excess of $100,000.
Plaintiff is a citizen of Alaska. Defendant was incorporated in
Louisiana and has its principle place of business in Louisiana.
Therefore, complete diversity of citizenship exists.

Suit was filed by plaintiff in the Alaska Superior

_Court, Fourth Judicial District at Bethel, Alaska, on or about

NOTICE OF REMOVAL FROM STATE COURT
John Doe 1 v. The Jesuits of the New Orleans Province
Case No. 3:08-cv-

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Case 4:08-cV-00008-RRB Document 1 Filed 03/18/08 Page 2 of 5

 

 

 

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ANCHORAGE. ALASKA

 

October 30, 200?. Defendant, The lJesuits of the New Orleans
Province entered a Special Appearance to contest personal
jurisdiction on February 14, 2008. Original defendants Society
of Jesus, Oregon Province and the Society of Jesus, Alaska,.were
dismissed. on January 16, 2008. The other original defendant,
Catholic Bishop of Northern Alaska, was dismissed by Order dated
February 28, 2008. n
This notice of removal is-timely filed because, this
case became removable on February 28, 2008, when the non-diverse
defendant, the Catholic Bishop of Northern Alaska, was
dismissed, and the dismissal created complete diversity of
citizenship between plaintiff and the sole remaining defendant,
The Jesuits of the New Orleans Province.
Based on the above, this court has both original and
removal jurisdiction over this action and defendant is entitled
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NOTICE OF REMDVAL FROM STATE COURT
John Doe l v. The Jesuits of the New Orleans Province
Case No.'3:08-cv-

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to remove this action from the Superior Court for the State of

Alaska.
RICHMOND & QUINN
Attorneys for The Jesuits of
The New Orleans Province
DATED: 3/18/08 By: s/Daniel T. Quinn

 

Daniel T. Quinn, ABA #Blelél
RICHMOND & QUINN

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Anchorage, AK 99501-2038

Ph: (907) 276-5727

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John Doe l v. The Jesuits of the New Orleans Province
Case No. 3:08-cv~

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CERTIFICATE OF SERVICE

 

This is to certify that on the

18th day of Marchr 2008, a copy
of the foregoing document was
served by mail on:

David Henderson

Law Offices of David Henderson
Box 2441

Bethel, AK 99559

s/Daniel T. Quinn
RICHMOND & QUINN

 

2290\001\pld\USDC - NOTICE OF REMOVAL FROM STATE COURT

NOTICE OF REMDVAL FROM STATE COURT

John Doe l v. The Jesuits of the New Orleans Province

 

Case No. 3:08-cv-'

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